                                 8




Exhibit B: Transcript, Feb. 4,
2021 Hearing
                                                                 9   1


 1        IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
 2   IN AND FOR THE COUNTY OF SAN DIEGO; NORTH COUNTY DIVISION
 3            DEPARTMENT 19        COMMISSIONER PATTI C. RATEKIN
 4

 5   IN RE THE MARRIAGE OF:
 6
                                         )
 7   ANDREA L. EMERT,
 8
 9           vs.
                    PETITIONER,
                                         ~
                                         )
                                              CASE NO. 19FL010852N


                                         ~
                                              M.S. TEAMS VIDEO
10 ROBERT EMERT,                              CONFERENCING
11                  RESPONDENT.          ~)
12
13           REPORTER'S TRANSCRIPT OF VIDEO PROCEEDINGS
14                     THURSDAY, FEBRUARY 4, 2021
15                  (PAGES 1 THROUGH 15, INCLUSIVE)
16
     APPEARANCES:     (VIA M.S. TEAMS)
17
18   FOR THE PETITIONER:           DAVID S. SCHULMAN
                                   ATTORNEY AT LAW
19
20   RESPONDENT ROBERT EMERT:      APPEARING IN PRO PERSONA
21
22
23
24
             PEGGY D. TIESS, RPR, CRR, CSR#7908
25                 OFFICIAL COURT REPORTER
                  SAN DIEGO SUPERIOR COURT
26
27
28


                           Peggy Tiess, CSR #7908
                                                             10   15


1    RECOMMENDATION -- I NEED TO GET THROUGH PART OF MY
 2   CALENDAR, I'M NOT READY TO DO THIS CASE RIGHT NOW,      SO
 3   I'LL TRAIL YOU UNTIL THE END.      I'LL GIVE YOU AS MUCH TIME
 4   AS I CAN GIVE YOU.    OKAY.
 5
 6                          - 000 -
 7          (THE PROCEEDINGS ADJOURNED IN DEPARTMENT 19.
 8          NOTE THAT THIS CASE WAS NOT RECALLED IN
 9          DEPARTMENT 19 THIS DATE.      ACCORDING TO THE
10          MINUTES, THE CASE WAS SENT TO DEPARTMENT 16,
11          JUDGE BROWER.)
12                           - 000 -
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                          Peggy Tiess , CSR #7908
                                    ------------
                                                - - - - - - - - - - - - - - - - - - -·
                                                                       11    15


1    STATE OF CALIFORNIA     }
 2                           } ss
 3   COUNTY OF SAN DIEGO     }
4

 5      I, PEGGY D. TIESS, CSR NO. 7908, OFFICIAL REPORTER OF
 6   THE SUPERIOR COURT OF THE STATE OF CALIFORNIA, IN AND FOR
 7   THE COUNTY OF SAN DIEGO, HEREBY CERTIFY THAT I REPORTED
 8   IN MACHINE SHORTHAND THE M.S. TEAMS VIDEO CONFERENCING
 9   PROCEEDINGS IN THE ABOVE-ENTITLED CAUSE, AND THAT THE
10   FOREGOING TRANSCRIPT, CONSISTING OF PAGES NUMBERED 1
11   THROUGH 15, INCLUSIVE, IS A FULL, TRUE, AND CORRECT
12   TRANSCRIPT OF THE SAID PROCEEDINGS CONDUCTED IN
13   DEPARTMENT 19 ON FEBRUARY 4, 2021.
14
15      DATED AT VISTA, CALIFORNIA, THIS 15TH DAY OF JUNE,
16   2021.
17
18
19
20
21
22
23
24                           PEGGY D. TIESS, RPR, CRR
                             CSR NO . 7908
25                           OFFICIAL COURT REPORTER
                             SAN DIEGO SUPERIOR COURT
26
27
28


                           Peggy Tiess, CSR #7908
